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                                UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF OKLAHOMA

       JANELLE BRIDGES, et a;.,
                                                       Plaintiffs,

       vs.                                                                      Case Number: 15-CV-126-GKF-FHM

       KYLE WILSON, et al.,
                                                    Defendants.

                                           THIRD AMENDED SCHEDULING ORDER

Having received notice that the Supreme Court has denied defendant Wilson’s Petition for Writ of Certiorari, the
court lifts the stay and enters the following pretrial schedule:
 1.            --        INITIAL DISCLOSURE Under Federal Procedure 26(a)(1) (Not Filed of Record)

 2.            --        MOTIONS FOR JOINDER OF ADDITIONAL PARTIES &/OR AMENDMENT TO THE PLEADINGS

 3.            --        EXCHANGE OF PRELIMINARY WITNESS LISTS AND EXHIBITS (Not Filed of Record)

 4.            --        PLAINTIFF’S EXPERT IDENTIFICATION & REPORTS Under Federal Rule Civil Procedure 26(a)(2) (Not Filed of Record)

 5.            --        DEFENDANT’S EXPERT IDENTIFICATION & REPORTS Under Federal Rule Civil Procedure 26(a)(2) (Not Filed of Record)

 6.            --        DISCOVERY CUTOFF (Interrogatories and Rule 34 requests must be made 30 days in advance of this date)

 7.            --        SETTLEMENT CONFERENCE REQUESTED AFTER

 8.            --        DISPOSITIVE MOTIONS AND DAUBERT MOTIONS

 9.           6-1-2019   MOTIONS IN LIMINE (Attorney meeting to resolve issues required before filing)

 10.           --        DEPOSITION/VIDEOTAPED/INTERROGATORY DESIGNATIONS (File pleading with deponent name, page and line

                         designations)

 11.           --        COUNTER-DESIGNATIONS (File pleading with deponent name, page and line designations)

 12.           --        TRANSCRIPTS ANNOTATED WITH OBJECTIONS & BRIEFS ON UNUSUAL OBJECTIONS FILED

                         (Attorney Meeting to resolve objections required before filing)

 13.          N/A        HEARING ON DISPOSITIVE MOTIONS at

 14.         6-17-2019   PRETRIAL DISCLOSURE Under Federal Rule Civil Procedure 26(a)(3)

 15.         6-24-2019   AGREED PROPOSED PRETRIAL ORDER - Including Final Witness & Exhibit Lists with Objections

 16.          7-1-2019   PRETRIAL CONFERENCE at              1:30 p.m.

 17.          7-8-2019   REQUESTED JURY INSTRUCTIONS, REQUESTED VOIR DIRE & TRIAL BRIEFS

 18.         7-15-2019   TRIAL DATE: [x] JURY at 9:30 a.m.


IT IS ORDERED that no date set by this Order can be changed except for good cause and upon written Order of this
Court.

                                                                                      This Order is entered this 25th day of February, 2019.


                                                                                      ______________________________________________
                                                                                      Gregory K. Frizzell
                                                                                      Chief District Judge
